B6D (Official Form 6D) (12/07)



 In re   Netwurx, Inc.                                                                            ,
                                                                                                                   Case No.      08-26131
                                                                                                                                                (If known)
                                                                Debtor


                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

              State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
 property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
 to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
 judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

            List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and
 address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

             If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
 entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife,
 both of them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife,
 Joint, or Community.”
            If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
 labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
 these three columns.)

             Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
 labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value
 of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from the column
 labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.




             q         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.



                   CREDITOR'S NAME AND                                                   DATE CLAIM WAS                                         AMOUNT OF
                                                                                                                                                                           UNSECURED
                     MAILING ADDRESS                                                    INCURRED, NATURE                                      CLAIM WITHOUT
                                                                                                                                                                           PORTION, IF
                 INCLUDING ZIP CODE AND                                                    OF LIEN, AND                                         DEDUCTING
                                                                                                                                                                              ANY
                   AN ACCOUNT NUMBER                                                     DESCRIPTION AND                                         VALUE OF
                  (See Instructions, Above.)                                           VALUE OF PROPERTY                                       COLLATERAL
                                                                                         SUBJECT TO LIEN



 ACCOUNT NO.                                                                                                                                          113,216.87                          0.00
 Dan Spangler, LLC                                                          Security Agreement
                                                                            Jefnet Customer List
 817 W. Milwaukee St.
                                                                            __________________________
 Jefferson, WI 53549
                                                                            VALUE $150,000.00




 ACCOUNT NO.                                                                                                                                            44,273.40                         0.00
 David Kiernan                                                              Security Agreement
                                                                            IDC Customer List
 120 N. Fraternity Ln.
                                                                            __________________________
 Whitewater, WI 53190
                                                                            VALUE $97,500.00




 2         continuation sheets
           attached
                                                                           Subtotal Ø
                                                                                                                                            $         157,490.27 $                          0.00
                                                                           (Total of this page)




                                                                           Total Ø                                                          $                          $
                                                                           (Use only on last page)


                                                                                                                                          (Report also on Summary of   (If applicable, report
                                                                                                                                          Schedules)                   also on Statistical
                                                                                                                                                                       Summary of Certain
                                                                                                                                                                       Liabilities and
                                                                                                                                                                       Related Data.)


                                      Case 08-26131-svk                      Doc 12                   Filed 06/20/08          Page 1 of 3
B6D (Official Form 6D) (12/07)- Cont.


 In re   Netwurx, Inc.                                                              ,
                                                                                                   Case No.    08-26131
                                                                                                                              (If known)
                                                    Debtor


                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                    (Continuation Sheet)


                   CREDITOR'S NAME AND                                     DATE CLAIM WAS                                   AMOUNT OF
                                                                                                                                                       UNSECURED
                     MAILING ADDRESS                                      INCURRED, NATURE                                CLAIM WITHOUT
                                                                                                                                                       PORTION, IF
                 INCLUDING ZIP CODE AND                                      OF LIEN, AND                                   DEDUCTING
                                                                                                                                                          ANY
                   AN ACCOUNT NUMBER                                       DESCRIPTION AND                                   VALUE OF
                  (See Instructions, Above.)                             VALUE OF PROPERTY                                 COLLATERAL
                                                                           SUBJECT TO LIEN



 ACCOUNT NO.                                                                                                                          44,273.40                       0.00
 Eric Kiernan                                                Security Agreement
                                                             IDC Customer List
 120 N. Fraternity Ln.
                                                             __________________________
 Whitewater, WI 53190
                                                             VALUE $97,500.00




 ACCOUNT NO.         90133610777                                                                                                      12,396.24              11,396.24
 GE Capital                                                  Security Agreement
                                                             Equipment on towers, Watertown
 P.O. Box 740420
                                                             __________________________
 Atlanta, GA 30374-0420
                                                             VALUE $1,000.00




 ACCOUNT NO.                                                                                                                          44,273.40                       0.00
 Jeff Wenzler                                                Security Agreement
                                                             IDC Customer List
 N493 Old Hwy 26
                                                             __________________________
 Fort Atkinson, WI 53538
                                                             VALUE $97,500.00




 ACCOUNT NO.                                                                                                                          44,273.40                       0.00
 Ronald Fowler                                               Security Agreement
                                                             IDC Customer List
 11726 N. McMillan
                                                             __________________________
 Whitewater, WI 53190
                                                             VALUE $97,500.00




 ACCOUNT NO.         100357182; 100360150; 100372                                                                                   194,226.90               57,626.90
 SBA                                                         Security Agreement
                                                             Tower equipmtnet, Erin, Hustisford,
 P.O. box 1004
                                                             Hartford, St. Lawrence; Jefferson,
 Oconomowoc, WI 53066
                                                             Fort, Lake Mills; Whitewater,
                                                             Waterloo, Ixonia, North Lake
                                                             __________________________
                                                             VALUE $136,600.00

 Sheet no. 1 of 2 continuation                               Subtotal Ø
                                                             (Total of this page)
                                                                                                                          $         339,443.34 $               69,023.14
 sheets attached to Schedule of
 Creditors Holding Secured
 Claims


                                                             Total Ø                                                      $                        $
                                                             (Use only on last page)


                                                                                                                      (Report also on Summary of   (If applicable, report
                                                                                                                      Schedules)                   also on Statistical
                                                                                                                                                   Summary of Certain
                                                                                                                                                   Liabilities and
                                                                                                                                                   Related Data.)




                                        Case 08-26131-svk     Doc 12                    Filed 06/20/08        Page 2 of 3
B6D (Official Form 6D) (12/07)- Cont.


 In re   Netwurx, Inc.                                                              ,
                                                                                                   Case No.    08-26131
                                                                                                                              (If known)
                                                    Debtor


                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                    (Continuation Sheet)


                   CREDITOR'S NAME AND                                     DATE CLAIM WAS                                   AMOUNT OF
                                                                                                                                                       UNSECURED
                     MAILING ADDRESS                                      INCURRED, NATURE                                CLAIM WITHOUT
                                                                                                                                                       PORTION, IF
                 INCLUDING ZIP CODE AND                                      OF LIEN, AND                                   DEDUCTING
                                                                                                                                                          ANY
                   AN ACCOUNT NUMBER                                       DESCRIPTION AND                                   VALUE OF
                  (See Instructions, Above.)                             VALUE OF PROPERTY                                 COLLATERAL
                                                                           SUBJECT TO LIEN



 ACCOUNT NO.         US-US/0806/04754                                                                                                 25,154.47                 1,154.47
 WAV                                                         Security Agreement
                                                             Back halls on ERN-LSB and
 c/o Coface Collections North Americ
                                                             LSB-NBL
 50 Millstone Rd.
                                                             __________________________
 Building 100 Ste. 360                                       VALUE $24,000.00
 East Windsor, NJ 08520




 Sheet no. 2 of 2 continuation                               Subtotal Ø
                                                             (Total of this page)
                                                                                                                          $           25,154.47 $                 1,154.47
 sheets attached to Schedule of
 Creditors Holding Secured
 Claims


                                                             Total Ø                                                      $         522,088.08 $               70,177.61
                                                             (Use only on last page)


                                                                                                                      (Report also on Summary of    (If applicable, report
                                                                                                                      Schedules)                    also on Statistical
                                                                                                                                                    Summary of Certain
                                                                                                                                                    Liabilities and
                                                                                                                                                    Related Data.)




                                        Case 08-26131-svk     Doc 12                    Filed 06/20/08        Page 3 of 3
